                     UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF NORTH CAROLINA                     FILED
                           WESTERN DIVISION
                                                                      AUG   7 2012
                          No. 5:11-CT-3020-BR
                                                                 ~~A.
                                                                BY_
                                                                   RICHAROS CLERK
                                                                   Ie     Rt, EONC
Thomas Shane Matherly                 )                                      _OEPCLK
                                      )
     Plaintiff,                       )
                                      )     SUGGESTION TO SUBSTITUTE
           v.                         )     NAMED DEFENDANT
                                      )     (Fed. R. Civ. P. 25(d»
Tracy Johns                           )
Deborah Gonzales                      )
Candice Gregory                       )
Harley Lapping                        )
                                      )
     Defendants.                      ,-
TO THE COURT AND ALL PARTIES
AND PERSONS INTERESTED

     Thomas Shane Matherly, plaintiff, states on the record in

this action that defendants, Tracy Johns, Warden FCI Butner 1

Medium and Harley Lapping, Director of BOP no longer hold those

offices.    To the extent that this action seeks relief from the

defendants in their official capacity, J.F. Andrews, Warden FCI

Butner 1 Medium and Charles Samuels, Director of BOP currently

hold these offices in question and has automatically substituted

as defendants in this action pursuant to the provisions of Rule

25 (d) of the Federal Rules of Civil Procedure.

     Thomas Shane Matherly suggests that:

1) All papers subsequently filed in this action reflect the
   substitutions and;

2) If the Court so desires, it enter a formal order reflecting
   this substitution.
Dated:     8/1/2012


~~~
Thomas Shane Matherly
34209-037
FCI Butner I Medium
PO Box 1000
Butner NC 27509-1000
          Case 5:11-ct-03020-BR Document 23 Filed 08/07/12 Page 1 of 1
